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                         THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF OHIO
                                 EASTERN DIVISION

JOHN DOE M.B., et al.,                            )    Case No. 2:19-cv-01911
                                                  )
               Plaintiffs,                        )    Judge Michael H. Watson
                                                  )
v.                                                )    Chief Magistrate Judge Elizabeth P.
                                                  )    Deavers
THE OHIO STATE UNIVERSITY,                        )
                                                  )
               Defendant.                         )

       STIPULATED CONSENT TO MOVE, ANSWER OR OTHERWISE PLEAD
                IN RESPONSE TO PLAINTIFFS’ COMPLAINT
              FOR DEFENDANT THE OHIO STATE UNIVERSITY

       Pursuant to Local Rule 6.1(a), plaintiffs John Doe M.B., John Doe R.F., John Doe S.G.,

John Doe D.L., and John Doe J.S., and defendant The Ohio State University (“Ohio State”) hereby

stipulate to a 21-day extension for Ohio State to move, answer, or otherwise plead in response to

plaintiffs’ Complaint, up to, and including, August 26, 2019. No prior extensions have been sought

or granted with respect to Ohio State, and the requested extension does not exceed 21 days.
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                                   Respectfully submitted,

/s/ Sanford A. Meizlish                       DAVID A. YOST
by /s/ Michael H. Carpenter                   ATTORNEY GENERAL OF OHIO
per email authorization (8/1/19)
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D.L., and John Doe J.S.
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                                CERTIFICATE OF SERVICE

       I certify that a copy of the foregoing was filed electronically on August 2, 2019. Notice

was sent by operation of the Court’s electronic filing system to all other counsel who have entered

an appearance and any parties who have entered an appearance through counsel. The parties may

access this filing through the Court’s ECF system.



                                             /s/ Michael H. Carpenter
                                             Trial Attorney for
                                             Defendant The Ohio State University
